         Case 1:24-cv-07774-JPO               Document 25    Filed 10/16/24      Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

John Doe,

                          Plaintiff,                                   No. 1:24-cv-07774

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, and MACY’S INC.

                          Defendants.

-------------------------------------------------------X

                  DECLARATION OF ANTHONY G. BUZBEE IN SUPPORT

                OF PLAINTIFF’S MOTION TO PROCEED ANONYMOUSLY

I, Anthony G. Buzbee, hereby declare as follows:

        1.       I am the owner of The Buzbee Law Firm and counsel for John Doe.

        2.       I make this Declaration in support of Plaintiff’s motion to proceed anonymously.

        3.       If required by this Court, I will disclose Plaintiff’s name to counsel for Defendants.

However, I would request a hearing prior to any such order.

        4.       Plaintiff is by no means the only victim of Mr. Combs to fear violence in retribution

for coming forward. My firm currently represents over 200 clients with claims against Mr. Combs.

Strikingly, an overwhelming number of these clients – likely in excess of eighty percent – have

stated to me or attorneys at my firm, during their intake process, that Mr. Combs made threats of
        Case 1:24-cv-07774-JPO             Document 25         Filed 10/16/24    Page 2 of 2




violence against them (or against the client’s family members) if the client disclosed to anyone the

facts of the sexual assaults or other acts of Mr. Combs’ of which they were a victim.

        5.      In Mr. Doe’s case, he was hit at the base of the neck (possibly with a pistol) and

surrounded by Mr. Combs’ bodyguards, all three of whom had guns in their waistbands, at the

time of the assault. Multiple voices at the time called out “I’ll kill you.” Then, after the assault,

Mr. Combs told Plaintiff words to the effect of “shut up or I’ll kill you.” Plaintiff continues to live

in fear for his life as a result of the assault and these threats.

        6.      For many of the clients referenced above, Mr. Combs’ threats of violence were a

primary reason why they did not speak out or file lawsuits earlier. Most of our clients still fear

retribution and have conditioned moving forward on anonymity.

        7.      With regard to this action, Plaintiff John Doe has not spoken publicly about the

incidents that underlie the causes of action in his Complaint.

Dated: OCTOBER 16, 2024

                                                 /s/ Anthony G. Buzbee
                                                 Anthony G. Buzbee
